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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


JORGE F. PORTO-SIERRA,
    Plaintiff,

vs.                                           Case No.: 3:20cv5397/LAC/EMT

FRIENDLY MOTEL AND INN, et al.,
     Defendants.
__________________________/

                                     ORDER

      The Chief Magistrate Judge issued a Report and Recommendation on May 4,

2020 (ECF No. 6).       The court furnished Plaintiff a copy of the Report and

Recommendation and afforded him an opportunity to file objections pursuant to

Title 28, United States Code, Section 636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, I have determined it

should be adopted.

      Accordingly, it is now ORDERED as follows:

      1.     The Chief Magistrate Judge’s Report and Recommendation (ECF No.

6) is adopted and incorporated by reference in this order.
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       2.     The clerk of court is directed to transfer this case to the United States

District Court for the Middle District of Florida and close the case in the Northern District.

       DONE AND ORDERED this 2nd day of June, 2020.



                                    s/L.A. Collier
                                    LACEY A. COLLIER
                                    SENIOR UNITED STATES DISTRICT JUDGE




Case No. 3:20cv5397/LAC/EMT
